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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


                                           )
   STATE OF ARIZONA, et al.,               )
                                           )
         Plaintiffs,                       )
                                           )
         v.                                )   Civil Action No. 6:22-cv-01130
                                           )
   MERRICK GARLAND,                        )
   in his official capacity as Attorney    )
   General of the United States, et al.,   )
                                           )
         Defendants.                       )
                                           )


    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER FOR
     LACK OF SUBJECT MATTER JURISDICTION UNDER 28 U.S.C. § 1631 AND
        MOTION FOR A STAY PENDING RESOLUTION OF THE MOTION
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                                          INTRODUCTION

         This action must either be transferred to the U.S. District Court for the District of Columbia,

  the sole federal court with jurisdiction to adjudicate this case, or dismissed.

         Plaintiffs challenge an interim final rule jointly issued by the Departments of Justice and

  Homeland Security, entitled Procedures for Credible Fear Screening and Consideration of

  Asylum, Withholding of Removal, and CAT Protection Claims by Asylum Officers, 87 Fed. Reg.

  18,078 (March 29, 2022) (the “IFR”). The IFR, by its own terms, implements “Section 235 of the

  INA,” i.e. 8 U.S.C. § 1225(b)(1), and specifically § 1225(b)(1)(B)(ii), which “provides that if an

  asylum officer determines that a noncitizen subject to expedited removal has a credible fear of

  persecution, the noncitizen shall receive ‘further consideration of the application for asylum.’ INA

  235(b)(1)(B)(ii), 8 U.S.C. 1225(b)(1)(B)(ii).” 87 Fed. Reg. at 18,080. Congress has limited review

  of regulations implementing § 1225(b)(1) to a single forum. Under 8 U.S.C. § 1252(e)(3),

  “[j]udicial review of determinations under [8 U.S.C. § 1225(b)] and its implementation is available

  in an action instituted in the United States District Court for the District of Columbia.” This

  includes review of whether “any regulation issued to implement” § 1225(b) “is constitutional,”

  and of “whether such a regulation … issued by or under the Authority of the Attorney General to

  implement such section, is not consistent with applicable provisions of this subchapter or is

  otherwise in violation of law.” 8 U.S.C. § 1252(e)(3)(A)(i)-(ii). “Review relating to section

  1225(b)(1)” is strictly limited in this way: “Notwithstanding any other provision of law (statutory

  or nonstatutory) … no court shall have jurisdiction to review,” among other things, any

  “procedures and policies adopted by the Attorney General to implement the provisions of section

  1225(b)(1) of this title,” “except as provided in subsection [1252](e).” 8 U.S.C.

  § 1252(a)(2)(A)(iv) (emphasis added).



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         The IFR that Plaintiffs challenge in the complaint implements § 1225(b). See 87 Fed. Reg.

  at 18,080 (explaining that “[t]his IFR addresses how” “further consideration of the application for

  asylum” under “8 U.S.C. 1225(b)(1)(B)(ii)” “will occur”). The IFR is issued under authority

  granted to the Secretary of Homeland Security, as well as similar authority granted to the Attorney

  General, to “establish such regulations … as he deems necessary for carrying out his authority” to

  implement “this chapter,” including § 1225(b)(1), and “all other laws relating to the immigration

  and naturalization of aliens.” 87 Fed. Reg. at 18,080 (quoting 8 U.S.C. § 1103(a)(1), (3), (g)(2)).

  As a result, under § 1252 a challenge to the IFR may be brought only in the District of Columbia,

  in accordance with the provisions of § 1252(e)(3); see 8 U.S.C. § 1252(a)(2)(A).

         Accordingly, because § 1252(e) contemplates review of the challenged IFR exclusively in

  the District of Columbia, this Court must either transfer this case to the District of Columbia under

  28 U.S.C. § 1631, or dismiss it. See Christianson v. Colt Indus. Operating Corp., 486 U.S. 800,

  818 (1988). And, because this transfer motion raises threshold jurisdictional issues with this

  Court’s authority to hear this case, the Court should stay this case in its entirety pending resolution

  of this motion.

                                           BACKGROUND

         Expedited Removal. Congress has authorized the Department of Homeland Security

  (“DHS”) to summarily remove from the United States certain noncitizens who arrive at ports of

  entry or “certain other noncitizens” who recently entered the country as designated by the

  Secretary. See 8 U.S.C. § 1225(b)(1). Under this summary-removal mechanism—known as

  expedited removal—a noncitizen “arriving in the United States” who an immigration officer

  determines lacks valid entry documentation or makes certain kinds of material misrepresentations,

  shall be “order[ed] ... removed from the United States without further hearing or review unless the



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  noncitizen indicates either an intention to apply for asylum under [8 U.S.C. § 1158] or a fear of

  persecution.” 8 U.S.C. § 1225(b)(1)(A)(i); see id. § 1182(a)(6)(C), (a)(7).

         Implementing regulations establish procedures to be used before effectuating an expedited

  removal order. Immigration officers must “advise the alien of the charges against him or her,”

  provide “an opportunity to respond to those charges in the sworn statement,” and provide an

  interpreter if needed. 8 C.F.R. § 235.3(b)(2)(i). A noncitizen may “present evidence” “that he or

  she was admitted or paroled into the United States,” or was “physically present ... continuously for

  the 2-year period immediately prior to the date of determination of inadmissibility,” and therefore

  ineligible for expedited removal. Id. § 235.3(b)(1)(ii), (b)(6). And “any removal order,” the “sworn

  statement,” and any claims concerning a noncitizen’s status “must be reviewed and approved by

  the appropriate supervisor before the order is considered final.” Id. § 235.3(b)(7).

         Under current law, additional procedures apply if a noncitizen asserts an “intention to apply

  for asylum ... or a fear of persecution,” 8 U.S.C. § 1225(b)(1)(A)(ii); see also 8 U.S.C.

  §§ 1158(a)(1), 1225(b)(1)(A)(ii). In that situation, a noncitizen is provided a non-adversarial

  interview with an asylum officer at which the officer determines whether the noncitizen has a

  “credible fear of persecution,” and is also provided the rights to request de novo review of that

  determination by an immigration judge, to consult with a person of the noncitizen’s choosing

  during the credible fear process, and to an interpreter. 8 U.S.C. §§ 1225(b)(1)(A)(ii),

  (b)(1)(B)(iii)(II), (B)(1)(B)(iv), (v); see 8 C.F.R. §§ 208.30(d), (d)(4), (d)(5); 1003.42(d),

  1208.30(g)(2). If the asylum officer or immigration judge determines that the noncitizen has a

  credible fear of persecution, the individual is “detained for further consideration of the application

  for asylum,” 8 U.S.C. § 1225(b)(1)(B)(ii), unless that individual is eligible for release on parole or

  bond. Although § 1225(b)(1)(B)(ii) does not specify how that “further consideration” should



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   occur, currently operative regulations provide that the noncitizen is placed in full removal

   proceedings under 8 U.S.C. § 1229a. See 8 C.F.R. § 208.30(f). If the officer and immigration judge

   find that the noncitizen lacks such a fear, the noncitizen shall be “removed from the United States

   without further hearing or review.” 8 U.S.C. §§ 1225(b)(1)(B)(iii)(I), (b)(1)(C); 1252(a)(2)(A)(iii),

   (e)(2); 8 C.F.R. §§ 1003.42(f), 1208.30(g)(2)(iv)(A).

          The IFR. On August 20, 2021, the Departments of Homeland Security and Justice jointly

   published a notice of proposed rulemaking (“NRPM”). The NPRM proposed amending the

   regulations governing the procedures for determining “further consideration of the application for

   asylum,” 8 U.S.C. § 1225(b)(1)(B)(ii), for individuals subject to expedited removal who are found

   to have a credible fear of persecution or torture under 8 U.S.C. § 1225(b)(1), and governing

   whether they may be released during the pendency of that application. See Procedures for Credible

   Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT Protection

   Claims by Asylum Officers, 86 Fed. Reg. 46906 (Aug. 20, 2021); see also 87 Fed. Reg. at 18,079

   (explaining that the NPRM proposed “to amend the regulations governing the process for further

   consideration of asylum and related protection claims raised by individuals subject to expedited

   removal and found to have a credible fear of persecution or torture” under § 1225(b)(1)(B)(i)-(ii)).

          On March 29, 2022, after receiving and reviewing public comments submitted in response

   to the NPRM, the Departments issued an IFR. See Procedures for Credible Fear Screening and

   Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by Asylum

   Officers, 87 Fed. Reg. 18,078 (Mar. 29, 2022). As the NPRM anticipated, the Departments issued

   the IFR to implement § 1225(b)(1), which the IFR notes “provides that if an asylum officer

   determines that a noncitizen subject to expedited removal has a credible fear of persecution, the

   noncitizen shall receive ‘further consideration of the application for asylum.’” 87 Fed. Reg. at



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   18,080. The “IFR addresses how that further consideration, including of the noncitizen’s related

   claims to statutory withholding of removal and CAT protection, will occur.” Id. at 18,080;

   see also id. at 18,085 (“this rule establishes a new process by which such ‘further consideration’

   may occur, wherein a noncitizen will have their asylum claim adjudicated following an Asylum

   Merits interview before a USCIS asylum officer in the first instance, rather than by an IJ in section

   240 removal proceedings.”).

                                                STANDARD

           Under 28 U.S.C. § 1631, “[w]henever a civil action is filed in a court … and that court

   finds there is a want of jurisdiction, the court shall, if it is in the interest of justice, transfer such

   action … to any other such court … in which the action … could have been brought at the time it

   was filed.” Id.; see also Franco v. Mabe Trucking Co., Inc., 3 F.4th 788, 792, 794 (5th Cir. 2021).

   As the Fifth Circuit recently held, § 1631 is mandatory: where subject matter jurisdiction is

   lacking, “§ 1631’s provisions apply to the [] case because the statute establishes a mandatory duty

   when it is triggered.” Franco, 3 F.4th at 795. The “statute therefore requires a transfer when a

   district court lacks” subject matter jurisdiction “and the other statutory prerequisites are met.” Id.

   (emphasis added).

           Section 1631 thus confers the authority on the Court “to make a single decision upon

   concluding that it lack[ed] jurisdiction—whether to dismiss the case or, ‘in the interest of justice,’

   to transfer it to a court … that has jurisdiction.” Christianson v. Colt Indus. Operating Corp., 486

   U.S. 800, 818 (1988) (reversing decision by court of appeals to address merits notwithstanding

   lack of jurisdiction, and holding that § 1631 required dismissal or transfer); see, e.g., Sanders v.

   ExxonMobil Corp., No. SA-08-CA-590-OG, 2008 WL 11417386, at *5 (W.D. Tex. 2008) (citing

   Christianson, 486 U.S. at 818) (“For this reason, section 1631 ‘confers on the [courts] authority to



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   make a single decision upon concluding that it lacks jurisdiction— whether to dismiss the case or,

   ‘in the interest of justice,’ to transfer it’”); Cunningham v. Velstar, Inc., No.

   421CV00127ALMCAN, 2022 WL 483193, at *2 (E.D. Tex. Jan. 26, 2022), report and

   recommendation adopted, No. 4:21-CV-127, 2022 WL 476077 (E.D. Tex. Feb. 16, 2022)

   (similar); Arias v. Mercedes-Benz USA, LLC, No. CV 20-00546-BAJ-SDJ, 2021 WL 1206600, at

   *2 (M.D. La. Mar. 30, 2021); Harutyunyan v. Love, No. CV 19-41, 2019 WL 5551901, at *4 (E.D.

   La. Oct. 28, 2019) (similar); TransFirst Grp., Inc. v. Magliarditi, 237 F. Supp. 3d 444, 456 (N.D.

   Tex. 2017) (similar); Schamerhorn v. U.S. Dep’t of Army, No. CIV.A. 01-914, 2009 WL 774964,

   at *6 (W.D. La. Mar. 23, 2009) (similar); International Pat Huval's Fisherman Wharf v. U.S. Int'l

   Trade Co., 29 ITRD 1994 (W.D. La. 2006); Awad v. United States, No. 1:93CV376-D-D, 2001

   WL 741638, at *7 (N.D. Miss. Apr. 27, 2001) (similar). “[I]f such a transfer is not ‘in the interest

   of justice,’ our sole alternative is to dismiss the [case].” USPPS, Ltd. v. Avery Dennison Corp.,

   647 F.3d 274, 277 (5th Cir. 2011).

          “Article III generally requires a federal court to satisfy itself of its jurisdiction over the

   subject matter before it considers the merits of a case.” Ruhrgas AG v. Marathon Oil Co., 526 U.S.

   574, 583 (1999). Accordingly, both Article III and the federal rules of civil procedure require a

   court “to consider the question of subject matter jurisdiction sua sponte if it is not raised by the

   parties and to dismiss any action if such jurisdiction is lacking.” Giannakos v. M/V Bravo Trader,

   762 F.2d 1295, 1297 (5th Cir. 1985) (citing Fed. R. Civ. P. 12(h)(3) and ln re Kutner, 656 F.2d

   1107, 1110 (5th Cir. 1981)). Because 8 U.S.C. § 1252(a)(2)(A)(iv) bars jurisdiction in this Court,

   and because 8 U.S.C. § 1252(e)(3) provides that the District of Columbia is the only court that

   could possibly have jurisdiction over challenges to the IFR, if the Court does not dismiss, its only

   alternative is to transfer this matter to the District of Columbia under 28 U.S.C. § 1631.



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          Finally, district courts have broad discretion to stay an action to control the course of

   litigation and promote judicial economy. Clinton v. Jones, 520 U.S. 681, 706 (1997); Landis v. N.

   Am. Co., 299 U.S. 248, 254-55 (1936); In re Ramu Corp., 903 F.2d 312, 318 (5th Cir. 1990);

   McKnight v. Blanchard, 667 F.2d 477, 479 (5th Cir. 1982) (“The district court has a general

   discretionary power to stay proceedings before it in the control of its docket and in the interests of

   justice.”); cf. Opelousas Gen. Hosp. Auth. v. Louisiana Health Serv. & Indem. Co., No. CV 17-

   818, 2017 WL 3175693, at *2 (W.D. La. July 24, 2017) (granting stay and noting it is “often

   advisable for a district court to defer resolution of certain pretrial matters until … a decision with

   regard to whether a case should be transferred”).

                                              ARGUMENT

          The unambiguous statutory text of 8 U.S.C. § 1252(a)(2)(A) and § 1252(e)(3) foreclose

   jurisdiction for any review of or challenge to the IFR in this forum. Section 1252(a)(2)(A), titled

   “review relating to section 1225(b)(1),” states that “notwithstanding any other provision of law”

   and “except as provided in subsection (e),” no court has jurisdiction over any challenge to

   “decision[s] by the [Secretary of Homeland Security] to invoke” the expedited removal provisions

   or to review any “procedures and policies adopted by the [Secretary] to implement the provisions

   of section 1225(b)(1).” 8 U.S.C. § 1252(a)(2)(A)(ii), (iv).1 Section 1252(e) imposes several

   limitations on the “[j]udicial review” that is permitted related to “section 1225(b)(1).” Section

   1252(e)(3), which is titled “[c]hallenges on validity of the system,” provides that “[j]udicial review

   of determinations under section 1225(b) of this title and its implementation is available in an action



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     Sections 1225(b) and 1252(e) refer to the Attorney General, but those functions have been
   transferred to the Secretary for Homeland Security. See 6 U.S.C. §§ 251, 552(d); Clark v.
   Martinez, 543 U.S. 371, 374 n.1 (2005). In any event, the IFR at issue here was jointly issued by
   DOJ and DHS under the authority of both the Attorney General and the Secretary of Homeland
   Security to issue implementing regulations. See 87 Fed. Reg. at 18,078, 18,080.
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   instituted in the United States District Court for the District of Columbia.” (emphasis added). As

   relevant here, such review includes “determinations of . . . whether such a regulation, or a written

   policy directive, written policy guideline, or written procedure issued by or under the authority of

   the [Secretary] to implement such section, is not consistent with applicable provisions of this

   subchapter or is otherwise in violation of law.” Id. § 1252(e)(3)(A)(ii) (emphasis added). In other

   words, any rule or written policy implementing § 1225(b) may be challenged, if at all, only in the

   District Court for the District of Columbia. See Am. Immigration Lawyers Ass’n v. Reno (“AILA”),

   199 F.3d 1352, 1358 (D.C. Cir. 2000) (“The statute permits judicial review of the ‘implementation’

   of 8 U.S.C. § 1225(b), the provision spelling out the procedures for inspecting applicants for

   admission to the United States . . . only in the United States District Court for the District of

   Columbia.”); Brumme v. I.N.S., 275 F.3d 443, 447 (5th Cir. 2001) (similar).

          Through § 1252(e)(3), Congress made clear that all challenges to regulations implementing

   § 1225(b) must be considered by a single forum and under the special procedures laid out in

   § 1252(e)(3). When Congress substantially revised the “inspection process” in the Illegal

   Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”), AILA, 199 F.3d at

   1355, and codified the current version § 1225(b), H.R. Conf. Rep. No. 104–828, at 158, 209

   (1996), it included these specific limits on the permitted scope and forum for judicial review of

   the “procedures for inspecting applicants for admission to the United States.” AILA, 199 F.3d at

   1358; see 8 U.S.C. § 1252(e)(3)(B). For the new procedures in § 1225(b) and any implementing

   guidance or regulations, Congress provided “that judicial review is available only in an action

   instituted in the United States District Court for the District of Columbia, and is limited to whether

   [§ 1225(b)(1)], or any regulations issued pursuant to that section, is constitutional, or whether the

   regulations, or a written policy directive, written policy guidance, or written procedures issued by



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   the Attorney General are consistent with the INA or other law.” H.R. Conf. Rep. No. 104–828, at

   220-21; see also id. at 219 (“no court shall have jurisdiction to review … except as provided in

   subsection (e), procedures and policies to implement section [1225](b)(1)”).

          As the D.C. Circuit explained in construing § 1252(e)(3), given the importance of the

   system “in § 1225(b) and its implementing regulations” to the inspection of noncitizens at or near

   the border, Congress meant to “cabin judicial review and to have the validity of the new law [or

   its implementation] decided promptly.” AILA, 199 F.3d at 1359, 1364; see also id. § 1252(e)(3)(D)

   (providing that cases filed with the District Court for the District of Columbia should be

   “expedite[d] to the greatest possible extent”). Congress also included other limits on the available

   avenues to challenge regulations implementing § 1225(b), such as precluding “class actions,”

   AILA, 199 F.3d at 1359, limiting declaratory and injunctive relief beyond that permitted

   specifically by § 1252(e), see 8 U.S.C. § 1252(e)(1)(A), and providing that any implementing

   procedures would remain operative even as they were being challenged, see H.R. Rep. No. 104-

   469, pt. 1, at 161 (1996) (“[C]ourts may issue injunctive relief pertaining to the case of an

   individual alien, and thus protect against any immediate violation of [individual] rights. However,

   single district courts or courts of appeals do not have authority to enjoin procedures established by

   Congress to reform the process of removing illegal aliens from the U.S.”).2




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             “A major objective of IIRIRA was to ‘protec[t] the Executive's discretion’ from undue
   interference by the courts; indeed, ‘that can fairly be said to be the theme of the legislation.’” Dep’t
   of Homeland Sec. v. Thuraissigiam, 140 S. Ct. 1959, 1966 (2020) (quoting Reno v. American-Arab
   Anti-Discrimination Comm., 525 U.S. 471, 486 (1999)). Other provisions of § 1252 similarly limit
   and channel review of any issue arising in removal proceedings not covered by § 1252(e)(3)—
   “including policies-and-practices challenges” to particular courts. J.E.F.M. v. Lynch, 837 F.3d
   1026, 1031 (9th Cir. 2016); see also Make the Road v. Wolf, 962 F.3d 612, 630-31 (D.C. Cir. 2020)
   (“What IIRIRA does in Section 1252 is route those legal and constitutional challenges to”
   particular “fora,” and “those challenges pertaining to the expedited removal program must be filed
   in the District of Columbia district court.”).
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          Congress thus channeled all challenges to agency action, rules, or policies implementing

   the provisions of § 1225(b)(1) to the District of Columbia, and that jurisdictional limitation applies

   regardless of whether the plaintiff is a noncitizen raising challenges related to his or her individual

   expedited removal action or a plaintiff more broadly raising challenges to rules or policies that

   relate to the implementation of the expedited removal process. The “review under Subsection

   1252(e)(3)” is “not textually confined to claims arising from individual removal actions.” Make

   the Road v. Wolf, 962 F.3d 612, 627 (D.C. Cir. 2020). “Congress included within Subsection

   1252(e)(3) … claims that, by their terms, are not confined to individual expedited-removal

   proceedings,” including “challenges to ‘procedures and policies adopted by the [Secretary] to

   implement [the statute]’ divorced from any individual determination.” Id.3

          Plaintiffs’ challenge to the IFR is precisely such a challenge to “implementation” of

   “section 1225(b).” 8 U.S.C. § 1252(e)(3). The IFR implements a provision of § 1225(b)(1),

   § 1225(b)(1)(B)(ii), which “provides that if an asylum officer determines that a noncitizen subject

   to expedited removal has a credible fear of persecution, the noncitizen shall receive ‘further

   consideration of the application for asylum.’” 87 Fed. Reg. at 18,080 (quoting 8 U.S.C.

   § 1225(b)(1)(B)(ii)). This IFR sets out procedures for implementing that “further consideration”

   contemplated by § 1225(b)(1)(B)(ii). See, e.g., 87 Fed. Reg. at 18,079 (noting the purpose of the

   IFR is “to amend the regulations governing the process for further consideration of asylum and

   related protection claims raised by individuals subject to expedited removal and found to have a



          3
              Section 1252(e)(3) governs “[j]udicial review of determinations under section 1225(b) of
   this title and its implementation.” (emphasis added). As the D.C. Circuit has held in a case brought
   under § 1252(e)(3), “[t]he natural meaning of the singular ‘its’ points directly to litigation over
   Section 1225(b)’s implementation. ‘[S]ection 1225(b) of this title’ is also the last antecedent to
   which the word ‘its’ refers.” Make the Road, 962 F.3d at 625; see Barnhart v. Thomas, 540 U.S.
   20, 26 (2003) (Under the “rule of the last antecedent,” a clause or phrase “should ordinarily be
   read as modifying only the noun or phrase that it immediately follows[.]”).
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   credible fear of persecution or torture.”); id. at 18,080 (“This IFR addresses how that further

   consideration, including of the noncitizen’s related claims to statutory withholding of removal and

   CAT protection, will occur.”); id. at 18,085 (“this rule establishes a new process by which such

   ‘further consideration’ may occur, wherein a noncitizen will have their asylum claim adjudicated

   following an Asylum Merits interview before a USCIS asylum officer in the first instance, rather

   than by an IJ in section 240 removal proceedings.”).

          Plaintiffs’ complaint thus plainly seeks to challenge “implementation” of § 1225(b). Each

   of their eight claims challenge a “policy or procedure,” 8 U.S.C. § 1252(a)(2)(A)(iv), that is, an

   IFR that implements § 1225(b)(1) by setting out how that statute will be applied to noncitizens

   subject to expedited removal under § 1225(b)(1). See 8 U.S.C. § 1252(e)(3)(A)(ii) (defining

   “implementation[s]” of § 1225(b) to include “a regulation, or a written policy directive, written

   policy guideline, or written procedure”) (emphasis added); see also Webster’s Third International

   Dictionary (1987) (defining “implement” as “to give practical effect to and ensure of actual

   fulfillment by concrete measures”); Implement, Merriam-Webster Online Dictionary (April 29,

   2022), https://www.merriam-webster.com/dictionary/implement (to “carry out, accomplish” or

   “provide instruments ... for.”).

          Plaintiffs’ first claim challenges the IFR’s use of “asylum officers”—rather than

   immigration judges—“to adjudicate [ ] asylum claims.” Compl. ¶ 114. They thus challenge how

   the IFR implements the “further consideration of the application for asylum” in § 1225(b)(1)(B)(ii)

   that follows the “interview” to assess “credible fear of persecution,” under § 1225(b)(1)(B)(i)-(ii).

   Section § 1252(e)(3)(A)(i)-(ii) forecloses jurisdiction in this district over such challenges to

   whether “any regulation issued to implement” § 1225(b) “is constitutional; or whether such a

   regulation …is otherwise in violation of law.” Cf. Castellar v. Mayorkas, No. 17-cv-00491, 2021



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   WL 4081559, at *6 (S.D. Cal. Sept. 8, 2021) (“Whether and when to present” an “individual to an

   immigration judge … concerns a means by which to carry out, accomplish, or provide an

   instrument for … individuals subject to expedited removal proceedings and thus concerns the

   implementation of Section 1225(b)(1),” and “Section 1252(e)(3) channels such actions to the

   United States District Court for the District of Columbia”).

          Plaintiffs’ second claim challenges how the IFR implements Defendants’ “statutory

   authority to parole” noncitizens subject to expedited removal. Compl. ¶ 123; id. ¶ 130 (challenging

   “the Asylum IFR” for how it applies “parole criteria … to aliens subject to expedited removal”).

   The IFR’s parole provisions apply exclusively to individuals subject to § 1225(b)(1) and therefore

   implement that provision. See 87 Fed. Reg. at 18,082 (“this rule establishes the regulatory authority

   for consideration for parole of noncitizens in expedited removal or in expedited removal with

   pending credible fear determinations” (emphasis added)). These provisions thus “concern[] a

   means by which to carry out, accomplish, or provide an instrument for a mandatory detention

   applicable to individuals subject to expedited removal proceedings and thus concerns the

   implementation of Section 1225(b)(1).” Castellar, 2021 WL 4081559, at *6. To the extent

   Plaintiffs argue the IFR’s parole provisions are “contrary to law” based on § 1225(b), as they do

   in their second claim, see Compl. ¶¶ 121-32, or based on other provisions, as they do in their third

   claim, see Compl. ¶¶ 133-38, that is of no moment. The strict limitations on “[j]udicial review” of

   the “implementation” of § 1225(b) to “the United States District Court for the District of

   Columbia,” 8 U.S.C. § 1252(e)(3)(A), extend to claims such as these, which would require a court

   to assess “whether such a regulation … to implement such section” is “not consistent with

   applicable provisions of this subchapter or is otherwise in violation of law,” id.; see also Castellar,

   2021 WL 4081559, at *5-6 (Section 1252(e)(3) limits any challenges to the “means” used by the



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   government “to carry out or accomplish the expedited removal scheme set forth in Section

   1225(b),” including challenges related to “detention” of individuals subject to that scheme).

          Plaintiffs’ fourth and fifth claims challenge the IFR as arbitrary and capricious under the

   Administrative Procedure Act (“APA’), see Compl. ¶¶ 139-59 (claim IV), id. ¶¶ 160-66 (claim V),

   and their sixth and seventh claims challenge the IFR for allegedly providing insufficient notice

   and opportunity to comment under the APA, or failing to adequately address certain comments,

   id. ¶¶ 167-78 (claim VI), id. ¶¶ 179-83 (claim VII). In these four claims, Plaintiffs challenge the

   manner in which the IFR was promulgated, but they do not dispute that the IFR implements the

   provisions of § 1225(b)(1)(B) governing “consideration of the application for asylum” following

   a credible fear interview—nor could they, see supra at 10-11. These claims are thus similarly

   barred in this Court by § 1252(e)(3) and by § 1252(a)(2)(A), which otherwise bars review of

   “procedures    and   policies”   that   “implement     the   provisions   of   section   1225(b)(1)”

   “[n]otwithstanding any other provision of law (statutory or nonstatutory).” See M.M.V. v. Garland,

   1 F.4th 1100, 1108 (D.C. Cir. 2021) (holding § 1252(e)(3) restricts jurisdiction outside the District

   of Columbia for APA challenges to rules implementing the expedited removal process because

   “[t]he bar is keyed to the nature of the challenged agency action, not the basis for the challenge”

   and so it channels APA claims, whether “procedural” or “substantive”); S.L.V. v. Rosen, No. 21-

   cv-0017, 2021 WL 243442, at *4-5 (W.D. Tex. Jan. 25, 2021) (dismissing for lack of jurisdiction

   and explaining that § 1252(e) “lists what relief is unavailable ‘[w]ithout regard to the nature of the

   action or claim and without regard to the identity of the party or parties bringing the action’” and

   provides “clear and convincing evidence that Congress intended to preclude judicial review” by a

   district court in this circuit); Reyes v. Nielsen, No. CV H-18-3971, 2020 WL 1442349, at *3 (S.D.

   Tex. Feb. 6, 2020), report and recommendation adopted sub nom. Sequeria Reyes v. Nielsen, No.



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   4:18-CV-3971, 2020 WL 1444920 (S.D. Tex. Mar. 24, 2020) (limitation on systemic challenges

   related to “the expedited removal regime” include claims “under the APA or Mandamus Act”).

          Plaintiffs’ eighth and final claim is that the IFR violates the Take Care Clause. See Compl.

   ¶¶ 184-88 (claim VIII). Challenges to whether “any regulation issued to implement” § 1225(b) “is

   [ ] in violation of law,” including whether a regulation “is constitutional” are similarly limited to

   the District of Columbia. 8 U.S.C. § 1252(e)(3)(A); see also e.g., M.M.V., 1 F.4th at 1108 (holding

   § 1252(e)(3) limited First Amendment challenge to rule implementing the expedited removal

   process to claims raised in the District of Columbia); Reyes, 2020 WL 1442349, at *3, report and

   recommendation adopted sub nom. Sequeria Reyes v. Nielsen, No. 4:18-CV-3971, 2020 WL

   1444920 (S.D. Tex. Mar. 24, 2020) (limitation on systemic challenges related “to the legality and

   constitutionality of the expedited removal regime” apply “[r]egardless of how Plaintiff

   characterizes [the] claims” (emphasis added)).

          Except for the “[r]eview relating to section 1225(b)(1)” Congress authorized in the District

   of Columbia, “no court shall have jurisdiction to review” “procedures and policies adopted by the

   Attorney General to implement the provisions of section 1225(b)(1).” 8 U.S.C.

   § 1252(a)(2)(A)(iv); see Brumme, 275 F.3d at 447 (5th Cir. 2001) (“IIRIRA recognizes limited

   judicial review, in the United States District Court for the District of Columbia, of certain

   challenges to the expedited removal ‘system’.”). “The expedited removal statutes are express and

   unambiguous” and “[t]he clarity of the language forecloses acrobatic attempts at interpretation”

   and “makes abundantly clear that if jurisdiction exists to review any claim related to an expedited

   removal order, it exists only under subsection (e) of the statute.” Castro v. U.S. Dep’t of Homeland

   Sec., 835 F.3d 422, 430, 432 (3d Cir. 2016). See United States v. Barajas-Alvarado, 655 F.3d 1077,

   1087 n.10 (9th Cir. 2011) (discussing § 1252(e)(3)); Khan v. Holder, 608 F.3d 325, 330 (7th Cir.



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   2010) (similar); Rodrigues v. United States Dep’t of Homeland Sec., No. 3:20-CV-0139-B, 2020

   WL 777278, at *2 (N.D. Tex. Feb. 18, 2020) (“systemic challenges to the validity of any regulation

   implementing the expedited removal statute must be brought in the District Court for the District

   of Columbia.”); Shah v. Director, No. 3:19-CV-1164, 2019 WL 4254139, at *3 (W.D. La. Sept.

   6, 2019) (explaining that § 1252(e)(3) requires any “challenges on the validity of the [expedited

   removal] system” to be brought in the District of Columbia and that no jurisdiction existed for any

   such challenge in the Western District of Louisiana). Plaintiffs’ claims thus can be raised, if at all,

   only “as provided in subsection (e),” in the District of Columbia. 8 U.S.C. § 1252(a)(2)(A)(ii),

   (iv), (e)(3); see also Make the Road, 962 F.3d at 625-26 (explaining that “Congress underscored”

   the permitted “judicial review over legal challenges to the rules implementing the expedited

   removal system …by emphasizing that review is barred ‘except as provided in subsection (e).’”);

   AILA, 199 F.3d at 1354 (“8 U.S.C. § 1252 provides the exclusive jurisdictional basis for

   challenging the removal procedures.”).4

          Because § 1252(e)(3) applies, the Court lacks subject matter jurisdiction over this case and

   must dismiss it on its own motion. Under Rule 12(h)(3), the Court may dismiss a case at any time,

   if it “determines … that it lacks subject-matter jurisdiction.” Because Plaintiffs’ complaint on its



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            Plaintiffs do not acknowledge cases addressing expedited removal policies or procedures
   through the exclusive judicial review scheme Congress established, perhaps because they arise
   exclusively in the District of Columbia, as required under § 1252, and thus undermine the entire
   premise of their claim of jurisdiction in this Court. See, e.g., M.M.V., 1 F.4th at 1107-11; Grace v.
   Barr, 965 F.3d 883, 887-88 (D.C. Cir. 2020); Make the Road, 962 F.3d at 625-26; AILA, 199 F.3d
   at 1355-58; A.B.-B. v. Morgan, 548 F. Supp. 3d 209, 217 (D.D.C. 2020); Las Americas Immigrant
   Advoc. Ctr. v. Wolf, 507 F. Supp. 3d 1, 19 (D.D.C. 2020); Kiakombua v. Wolf, 498 F. Supp. 3d 1,
   30 (D.D.C. 2020), appeal dismissed sub nom. Kiakombua v. Mayorkas, No. 20-5372, 2021 WL
   3716392 (D.C. Cir. July 19, 2021); L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 9 (D.D.C. 2020);
   Vijender v. Wolf, No. 19-CV-3337, 2020 WL 1935556, *5 (D.D.C. Apr. 22, 2020); Dugdale v.
   U.S. Customs & Border Prot., 88 F. Supp. 3d 1, 3 (D.D.C. 2015). Nor do they acknowledge the
   many cases in this Circuit that find that § 1252(a)(2)(A) and § 1252(e)(3) bar jurisdiction over
   challenges to policies or procedures implementing § 1225(b)(1). See supra at 13-14.
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   face challenges implementation of § 1225(b), no amendment of the complaint in this forum will

   cure the jurisdictional deficiencies. Alternatively, if the Court does not dismiss this case, it may

   transfer this matter to the District of Columbia in the interest of justice, see 28 U.S.C. § 1631, in

   order to allow that court to determine in the first instance whether it has jurisdiction under 8 U.S.C.

   § 1252(e)(3) and whether such a suit may proceed. See 8 U.S.C. § 1252(e)(3)(B); see also supra

   at 5-6. In moving for such a transfer, the government asserts only that the District of Columbia is

   the only federal court that could possibly have jurisdiction for challenges to the IFR. With respect

   to the Plaintiffs in this case, while the District of Columbia has exclusive jurisdiction over all such

   claims, the government does not concede that Plaintiffs have pled cognizable claims that satisfy

   § 1252(e)(3) or that Plaintiffs have standing or a cause of action to raise the claims contained in

   the complaint in that district. The government reserves the right to contest those issues as

   appropriate if relevant.

          Finally, the Court should stay this case until it decides the threshold jurisdictional question

   presented in this motion and whether to transfer this case to the District of Columbia. “Article III

   generally requires a federal court to satisfy itself of its jurisdiction over the subject matter before

   it considers the merits of a case.” Ruhrgas AG, 526 U.S. at 583. “For a court to pronounce upon

   the meaning or the constitutionality of a state or federal law when it has no jurisdiction to do so is,

   by very definition, for a court to act ultra vires.” Steel Co. v. Citizens for a Better Env’t, 523 U.S.

   83, 101-02 (1998). Because § 1252(a)(2)(A) and § 1252(e)(3) are unambiguous and clear, this

   Court lacks jurisdiction to litigate the merits of this case in any respect. Accordingly, while this

   transfer motion is pending, the Court should “defer resolution” or other matters pending “a

   decision with regard to whether a case should be transferred.” Opelousas Gen. Hosp. Auth. v.

   Louisiana Health Serv. & Indem. Co., No. CV 17-818, 2017 WL 3175693, at *2 (W.D. La. July



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   24, 2017); see also e.g., Direct Innovations, L.L.C. v. Weisgarber, No. CIV.A. H-14-3211, 2015

   WL 1976558, at *3 (S.D. Tex. Apr. 30, 2015) (staying case pending resolution of questions related

   to jurisdiction and whether case should be transferred); Evans v. Johnson & Johnson, No. CIV.A.

   H-14-2800, 2014 WL 7342404, at *3, 6 (S.D. Tex. Dec. 23, 2014); DeLeon v. Tey, No. 7:13-CV-

   439, 2013 WL 7157957, at *4 (S.D. Tex. Dec. 4, 2013).

                                            CONCLUSION

          For these reasons, the Court should conclude that sections 1252(a)(2)(A) and 1252(e)(3)

   foreclose jurisdiction in this Court and, if the Court does not dismiss this case without prejudice

   on that basis, transfer the matter to the District Court for the District of Columbia. Because the

   Court lacks jurisdiction over the claims in this matter, the Court should also stay this case in its

   entirety pending resolution of this motion.




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        Dated: April 29, 2022         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2022, I electronically filed this memorandum in support

   of Defendants’ motion with the Clerk of the Court for the United States District Court for the

   Western District of Louisiana by using the CM/ECF system. Counsel in the case are registered

   CM/ECF users and service will be accomplished by the CM/ECF system.

                                                /s/ Brian C. Ward
                                                BRIAN C. WARD
                                                U.S. Department of Justice




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